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This order is SIGNED.


Dated: July 29, 2024

                                                 JOEL T. MARKER
                                              U.S. Bankruptcy Judge




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   Alex N. Vandiver (17700)
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   Attorneys for Glass America Midwest LLC


                            UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF UTAH

   In re:

   Corbin William Archer                            ORDER GRANTING EX PARTE
   Lisa Ann Collet Archer                           MOTION FOR RULE 2004
                                                    EXAMINATION AND PRODUCTION
            Debtors                                 OF DOCUMENTS


                                                    Case No. 24-bk-21689-JTM

                                                    Judge Joel T. Marker


             On the Ex Parte Motion for Rule 2004 Examination and Production of Documents (the

    “Motion”, Docket No. 32 filed on July 24, 2024), finding just cause for the relief sought, the

    Court hereby orders as follows:



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        1.       The Motion is GRANTED;

        2.       Glass America Midwest, LLC (“Glass America”) is authorized to take the Rule

2004 Examination of Debtor Corbin William Archer (“Archer”) at such other time and place as

the parties may agree in writing or will receive at least 14 days’ notice of the examination; and

        3.       Glass America may seek compulsory attendance of Archer and the production of

documents by subpoena consistent with Fed. R. Bankr. P. 2004(c) and 9016.

                                        [END OF DOCUMENT]




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                   DESIGNATION OF PARTIES TO RECEIVE NOTICE

Service of the foregoing ORDER GRANTING EX PARTE MOTION FOR RULE 2004
EXAMINATION AND PRODUCTION OF DOCUMENTS shall be served to the parties and
in the manner designated below:

By Electronic Service: I certify that the parties of record in this case as identified below, are
registered CM/ECF users.

    •   Jesse A.P. Baker ecfutb@aldridgepite.com, jbaker@aldridgepite.com
    •   Lon Jenkins tr ecfmail@ch13ut.org, lneebling@ch13ut.org
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        ecf@parsonsbehle.com;docket@parsonsbehle.com
    •   United States Trustee USTPRegion19.SK.ECF@usdoj.gov
    •   Aaron M. Waite aaronmwaite@agutah.gov

The following parties in interest are not registered ECF users and must be notified manually:

 None

Dated this 24th day of July, 2024.

                                                       PARSONS BEHLE & LATIMER

                                                       /s/ Brian M. Rothschild
                                                           Brian M. Rothschild




4873-9391-6626
